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                                                                 FILED: September 3, 2015

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                       ___________________

                                   No. 15-7232
                             (1:97-cr-00355-WMN-3)
                              (1:13-cv-01815-WMN)
                              ___________________
         UNITED STATES OF AMERICA

                      Plaintiff - Appellee

         v.

         HILTON THOMAS, a/k/a Dinkles

                      Defendant - Appellant

                                       ___________________

                                            ORDER
                                       ___________________

              Upon consideration of the unopposed motion for abeyance, the court grants

        the motion. The court places this case in abeyance pending a decision by the

        Supreme Court in Montgomery v. Louisiana, cert. granted, 135 S. Ct. 1546 (Mar.

        23, 2015). The parties are directed to notify this court in writing promptly upon

        issuance of the decision.

                                                     For the Court

                                                     /s/ Patricia S. Connor, Clerk
